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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                      Case No. 1:12-cr-296

v.                                                            HON. JANET T. NEFF

KEITH JAY PALMER,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Keith Jay Palmer has filed a motion for modification or reduction of sentence (Dkt

160) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       The U.S. Probation Office filed a Report of Eligibility (Dkt 164) finding defendant ineligible,

and defendant has filed a Response (Dkt166). Defendant is ineligible, because the mandatory

minimum sentence of 120 months was imposed.
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       IT IS HEREBY ORDERED that Defendant's motion for modification of sentence (Dkt 160)

pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.



DATED: December 11, 2014                             /s/ Janet T. Neff
                                                    JANET T. NEFF
                                                    United States District Judge




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